Case 19-24331-PDR Doc112 Filed 04/28/21 Page1of12

[Type here] Ralph L. Sanders Case 19-bk-24331-PDR

Motion for Notification of additional assets, Small Bussiness Administration
(Creditor) is assigning someone to my Bankruptcy case and part of the objection

to Mr. Stewart's motion.

Dear Honorable Judge Peter D. Russin

UNITED STATES BANKRUPTCY COURT

United States Courthouse 299 E. Broward Blvd.
Courtroom: 301 / Chambers: Room 303

Fort Lauderdale, FL 33301

Bankruptcy Case 19-bk-24331-PDR Date: April 27, 2021

Your Honor
The following is to serve two purposes.

1. Inform trustee with a full writeup later today of the assets once SBA

gets back to me
2. SMALL BUSINESS ADMINISTRATION: May have Title Insurance

policy and lawyers who seem to enjoy collecting Title Insurance. SBA

Loan Number: 1877566003.

Main

Case id 19-bk-24331-PDR Page 1 of 8

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Case 19-24331-PDR Doc112 Filed 04/28/21 Page 2of12

[Type here] Ralph L. Sanders Case 19-bk-24331-PDR

1. | have six additional NEW assets due to the recent discovery of
the issues this month (April) month. | received a full copy of my
buyer title insurance yesterday (April 26, 2021 ). On Thursday, April
22, 2021, | picked the copies of permits that | was missing from
The City of Plantation microfilm department. This is to be part of
my Objection to Mr. Strewart motion to move the asset out of
Bankruptcy protection

a. Two Title Insurance policies
|. Buyers Title Insurance policy: value $292,000 See
attached
ii. Lenders (BNYM/WF) Title Insurance policy: Value
$313,00 that | paid $2,080
b. Title Defects. Physical, non-curable except with a bulldozer
i. Setback/Lot line violation: Documentation 1959 Land
Platt. 1962 survey after the home was completed with
a 15 ft wide canal with a 20-foot easement. House was
not kosher. Records from the City of Plantation
microfilm department showing in 1974, the drainage
ditch was still 15 feet wide. In a 2004 survey, when |

bought the house, it reflected that | was 14 feet away

Case id 19-bk-24331-PDR Page 2 of 8

 
Case 19-24331-PDR Doc112 Filed 04/28/21 Page 3of12

[Type here] Ralph L. Sanders Case 19-bk-24331-PDR

from the Eastmanwhen | should have been 20 feet
away; there are no variances for myself. There are
additional details (statutes, case law, and emails) that
I'll file the rest of it by this afternoon.

li. There are two additions done to the house without
permit one of them is the front of the house the flat roof
section they were permits in 1974 for the back pool
area shelter, external bathroom only access from the
outside other house and additional electrical work
that's it the rest of the permits until 2004/2005 was
roofing

ill. The sixth asset may be the drainage ditch issue. |
need to find more case law to uphold my opinion. The
land beneath the water is the property owner such that
| have ten feet and neighbor on other side has ten feet,
BUT the Old Plantation Water Control District has
superior rights, the homeowners are just the collateral
damage

2. One thing | am curious about is BNYM does have a title attorney

assign to my bankruptcy case. | wonder why he didn't correct me

Case id 19-bk-24331-PDR Page 3 of 8

Fx
Case 19-24331-PDR Doc112 Filed 04/28/21 Page 4of12

[Type here] Ralph L. Sanders Case 19-bk-24331-PDR

when | was thinking & emailing all parties that it was a
homeowners insurance claim. How | got that opinion was a GC
was giving me quotes on repairs my house, and one of the GC's
notice the lot line/setback issue and informed me to file an
insurance claim on the issue along with three other issues he had

found with the house

My property violates' city code is based on 1964, 2004, 2005, 2021
City of Plantation. The construction of the homes is required to follow
the platted map, which includes plans for a 20-foot wide easement.
Instead, the builder went with the existing drainage waterway that

was 15 feet wide
Per the 2004/2005 zoning code, the property is in violation.

In the following case law, the defects would have to be bulldozed
Owner bedroom/bathroom removed; secondly, the elevation of the

house (old section) is below the base elevation

The above title is in addition to the homeowner insurance issues.

Case id 19-bk-24331-PDR Page 4 of 8

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Case 19-24331-PDR Doc112 Filed 04/28/21 Page5of12

[Type here] Ralph L. Sanders Case 19-bk-24331-PDR

Attorneys

Timmy Kingcade is willing to take on the case, but he does not

handle Chapter 13 cases in Broward

Charles Barron: He had helped me with the Finnish social benefits
when Social Security said to go to Fiins pension program directly. He

is looking at being a lawyer herder for a fee.

447 So. 2d 427 (Fla. Dist. Ct. App. 1984) Cited 12 times

In CMEI, Inc. v. American Title Ins. Co. (Fla. Dist. Ct. App. 1984) 447 So.2d
427, an insured mortgagee who had acquired title to the secured property
by foreclosure made a title insurance claim regarding an

undisclosed defect in title. " title defects in claims may exist which reduce
the market value of the security property (the value to the owner) yet result
in no loss or damage to the insured mortgagee because the effect of the
title problems does not reduce the value of security property below the
amount of indebtedness secured or because the indebtedness is otherwise

secured or paid."

Case id 19-bk-24331-PDR Page 5 of 8

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Case 19-24331-PDR Doc112 Filed 04/28/21 Page 6of12

[Type here] Ralph L. Sanders Case 19-bk-24331-PDR

1964 City of Plantation Building code

a. (b) Where the rear of a lot ina single-family residential district
abuts a public or private canal, lake, or waterway right-of-way of
less than seventy (70) feet in width, the depth of the required rear
yard setback may be reduced in accordance with the following

schedule:

Minimum rear yard
Average lot depth

setbacks
100' 10% of net depth of lot
100’ to 105’ 11% of net depth of lot
105’ to 110’ 12% of net depth of lot
110’ to 115’ 13% of net depth of lot
115' to 120’ 15% of net depth of lot
120’ or over 20 feet

Case id 19-bk-24331-PDR Page 6 of 8

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Case 19-24331-PDR Doc112 Filed 04/28/21 Page 7 of12

[Type here] Ralph L. Sanders Case 19-bk-24331-PDR

RPTE FL-CLE 4-1 (Approx. 292 pages)

. "The invalidity or unenforceability of any assignment of the insured

mortgage, "

" Generally, title insurance operates to protect a purchaser or mortgagee
against defects in or encumbrances on title which are in existence at the
time the insured takes title. National Mortgage Corporation v. American
Title Insurance Company, (1980). Title
insurance is unique in that it is retrospective, not prospective. Van Arsdale

v. Metropolitan Title Guaranty Co.,

(Dist. Ct. 1980).

The risks of title insurance end where the risks of other kinds begin. Title

insurance, instead of protecting the insured against matters that may arise
during a stated period after the issuance of the policy, is designed to save
him harmless from any loss through defects, liens, or encumbrances that

may affect or burden his title when he takes it."

Case id 19-bk-24331-PDR Page 7 of 8

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4/27/2021 Case 19-24331-PDR Doc 1bihail FiladAG/A8Rdey Page 8 of 12

Title policy and survey

Debby Watarz <debby@allcountytitleservices.com> Mon, Apr 26, 2021 at 9:52 AM
To: ralph.!.sanders@gmail.com

Ralph,
Please see attached.
Please confirm receipt by reply email.

Debby

Deborah Watarz
All County Title Services, Inc.
Schilian & Watarz, P.A.

(561) 994-8844
Fax: (561) 994-8864

AVG This email has been checked for viruses by AVG antivirus software.

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274K

Ralph Sanders <ralph.|.sanders@gmail.com> Mon, Apr 26, 2021 at 10:09 AM
To: Debby Watarz <debby@allcountytitleservices.com>

Thank you, Debby 1/5

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Case 19-24331-PDR Doc112 Filed 04/28/21 Page9of12

 

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j OWNER'S POLICY OF TITLE INSURANCE

 

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Case 19-24331-PDR Dot 112 Fret 64/26/24+—Page10 of

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sued ty Lawyers Title Insurance Co oration 2
pore POLICY NUMBER

LandAmeri snisa.v0n A8i-
Be Lawyers Te iat cmneneier B1-01340%% |

1. Title to the éslate or interest described in Schedule A being Vested other than as stated therein:
. G;

4, Lack a right of access to and from the land.

The Company also will pay the costs, attome ‘fees and expenses incurred in defense of the 85 insured, but only to the extent prov. in
the Conditions and Stipulations, a ony FeMtad

LAWYERS TITLE INSURANCE CORPORATION

By: we Q. pet

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Secretary BK ees Je Prasident i

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EXCLUSIONS FROM COVERAGE |

foe cpantina matters are expressly excluded from the coverage of this Policy and the Company wilt nat pay loss or damage, costs altomeys' F

or
1. (a) Any faw, ordinance or Sovernmental regulation including but not limited to building and zoning laws, ordinances, ar regulations)
Pore regulating, prohibiting or relating to {i) the Cécupanoy, use, or enjayment of the land; (ii) the character, dimensions or |
ocation of any i ‘
ar@a Of the land or any paroe! of which the land is or was a part: or (iv) environmental protection, Or the effect of any violation of these i
laws, ordinances or governmental regulations, axcept to the extent that @ notice of the enforcement thereof ar a notice of a detect, lien £

 

éb) not known to the. Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed
in writing to the Company by the Insured Claimant prior to the date the insured Claimant became an insured under thie Roficy;

 

of faderal bankruptcy, state insolvency, or similar creditors’ fights laws that is based on:
{a} the transaction creating the estate or interest insured by this policy being deamed a fraudulent conveyance or fraudulent transfer; af

(©) the transaction creating the estate or interest insured by this policy being deemed a Preferential transfer excapt where the preferential i
transfer results frevn the failure:
|

(i) to timely record the instrument of transfer: of :
{il} of such recordation to impart natice to a purchaser for value oF a judgment or fan creditor. % 5

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Case 19-24331-PDR Doc LI2— Fitet- 04/28/24

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Lawyers Title Insurance Corporation
OWNER’S POLICY

Schedule A

Policy No.: Agent's File Reference:
a81-134096 04-204Sanders

Effective Date: May 12, 2004, or the date and time of recording of the insured deed, whichever is later.
Amount of Insurance: $292,000.00
1, Name of Insured; Ralph Sandets

2. The estate a the often escibed herein and whichis covered by this poliy safe simple (if other, speci
Sime) and is atthe effective date hereof vested in the named insured as show by the instrument eo

3. The land referred to in this policy is described as follows:

4, The land desoribed herein is encumbered by the following mortgage and assignments, if any.

Mortgage in the sum of $232,000.00 from Ralph Sanders to Chase Manhattan Mortgage Corporation dated May 12,
2004, to be recorded in the Public Records of Broward County, Florida,

Agent No.: 12-40279

 

Issning Agent:

All County Title Services, Inc.
2499 Giades Road, Suite 112 3
Boca Raton, FL 33431

 

Agent's Signature

 

 

 

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Lawyers Title Insurance Corporation
OWNER'S POLICY

Schedule B

Policy No.: Agent's File Reference:
a8 1-134096 ,

04-204Sanders

This policy does not insure against loss or damage by reason of the following exceptions:

1, Taxes for the year of the effective date of this policy and taxes or special assessments which are not shown as existing
liens by the public records.
Rights or claims of parties in possession not shown by the public records.

3. Encroachments, overlaps, boundary line disputes, and any other matters which would be disclosed by an accurate
survey and inspection of the premises. ,

4. Easements or claims of easements not shown by the public records.

5.. Any lien, or right to a lien, for services, labor, or material heretofore or hereafter furnished, imposed by law and not
shown by the public records.

6. Any adverse ownership claim by the State of Florida by right of sovereignty to any portion of the lands insured
hereunder, including submerged, filled and artificially exposed lands, and lands accreted to such lands. .
The lien of all taxes for the year2004 and thereafter, which are not yet due and payable.

8. Matters as contained on the Plat of PLANTATION PARK 10TH ADDITION recorded in Plat Book 55, page 21, of
the public records of Broward County, Florida.

5. - Covenants, restrictions, conditions, reservations, easements, liens for assessments and other provisions set forth in
instrument recorded in Official Records Book 2389, at Page 203, re-recorded in O.R. Book 2420, Page 816 and in
allied instruments referred to in said restrictions, ifany.

ITEMS 1-6 are hereby deleted,
All Book and Page references are to the Public Records of Broward County , Florida.

 

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